,r--------- ----
                          Case 4:22-cv-00330-JM Document 16-12 Filed 03/09/23 Page 1ELECTRONICALLY
                                                                                     of 18         FILED
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                                                                                                                            60DR-11-1586
                                                                                                                          C06D14 : 18 Pages


                                    IN THE CIRCUIT COIIRT OF PULASKI COTINTY, ARKANSAS
                                       HON. H. VANN SMITTI _ 14TH DTVISION 6TH C]RCUIT

                   ANGELA MOODY                                                                                     PLAINTIFF
                                                              cASENO.60DR-11-1586
                   EDWARDMOODY                                                                                  DEFENDANT
                                                               DECREE OFDIVORCE
                            NOW on this 9th day of December, 2014, comes on for consideration the above-referenced

                   matte.g the Plaintiffappearing in person and with her aftomeys of record, W. H. Taylor and          JeffMitchell;

                   dre Defendant appearing        il   pason and wift his attomeys of record, Judson C. Kicld, Adrienne Griffis

                   and Dana Friedman; and from the pleadings as filed herein, statments ofcomsel, evideuce adduced in open


                   cou!   tlre stipulation ofthe pafies, dre Defendant withdrawing liis Counter Claim to thePlafurtiffs Complaint


                   ftr'Dvorce and fi.nthcr waiving fierequirement ofcon'oboration of grounds       as evidenced by his attomcy's


                   signature hereto and aJlowing this lnatter to proceed as an unmntest€d divorcg      ar,   d from the mrroboratirrg


                   testirnony of Chay,l Shuffiel4 ard other things and matters appearin& this Corul, being                 well and

                   sufficiently advised that the parties to the above-captioned matter have reached an agreement on all

                   pending issues, finds:

                            1.      That this Cout has juisdiotiou over tlle subject matter haein and the parties hereto.

                           2.       That the parties herein were rnanied on or aboul Odober 30, 20M and lived togethet as

                   husband and wife until on or about March 30, 201I at which time they sepamted and have since lived

                   separatc and apart.

                           3.       That based on the continuous separation           of tlre parlies without       cohabitation or

                   reconciliation for   a   period in excess ofeighteen rnonths, flre Plaintiffshould bq and hereby i s, gr anted

                   an absolute divorce of and fiom the Defendant.

                           4.       That there is one child born of this union, E.O.M., bom in 2008. The parties agree, and

                   tlre Court finds, that both parties are fit and proper parents to have custody of the rninor child;
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horvwer', Plaintiff shall be designated the primary physical custodian. Decisions regarding              tlLe


minor child's daily activities shall be rnade by dre party who has dre child at the time. Each parly

shall be allowed to instruct the minor child in the religion ofhis or her choosing while the child is

in his or her care. Prirnary physical care, custody and conhol of said minor child should be vested

in the Plaintiff, subject to the Defendant's riglrt to reasonable visitation prusuant to dris Court's

Amended and Substituted Visitation Order in fl.ris matter dated April 28, 2014 and filed of lecord on

April28,20l4,     attached hereto as Exhibit   "A"   and iucorporated herein by reference, except as hereby


expressly modified by this Decree and as follows:

         a-   'l'he first two sentences of Paragraph 3 in Exhibit        A   are liereby modified   to read:

              Plaintiff has primary physical custody of the minol child, s'ubject to Defendant's right

              of visilatioq which will be as follows:

                i.   Defendant   wll   have visitation    wifli the rninor child on alternating   weekends

                     fi'o::r Thursday after school until Sunday at 6:00 p.rn. On the weekends

                     Defendant has visitatiou, he        will pick up the minor child fi'om school       on

                     Thursday at its dismissal and retun hel to PlaintifPs home on Surrday evenilg

                     at 6:00 p.m., except as may be otherwise contoolled by the "IJoliday visitation

                     schedule" set out   i   Exhibit "A".

         b.   Paragraphs 14(b) and 14(c) shall no longer apply.

         5.      This older is deemecl a "court order" rurder HIPPA to allow each parent access to

thc minor child's rnedical records, including n.rental health records. Ifnecessaly, each party         slull

execute any HIPAA release required by a health care provider to release infonnation to dre other

palty.

         6.      Both palents shall be allowed to paticipate in and receive all information regarding
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the minor child's health care, education, extracurricular activities, and othcr similar events. Each

parent shall inform the other       of all medical,    dental, orthodoutist, counseling and odret

appointrnents   for the minor child imrnediately upon scheduling same. Plaintiff          sha11   infonn

Defendant of the ninor child's school schedule and the schedule for all her extracurricular

activities immediately upon receiving same. Defendant is entitled to rcceive copies of all health

care and educational records and shall be listed as the minor child's parent and emetgency contact

wiih all health care providers and schools. Iffor any reason Defendant is mrable to obtain health

carc, educational, or othcr similar lecords dir ectly fl'om the provider, Ptaintiff shal1 provide

Defendant with a cornplete copy ofthese records upon request.

        7.      Plaintiff shall infoun Defenda:rt before rnaking any majol decision affecting         t1.re



well-beirrg of the minor chi1d, including changing her school or scheduling a major medical

procedure.

        8-      Ncither party shall schedule extracuricular activities or social evants for the minor

child during the visitation time ofthe other parent.

        9.      1he parties agree, and the Court finds, that Defendant shall pay child suppolt in the

sum of$20,000.00 on Janualy 1, 2015, and $12,000.00 per nonth beginnirg February 1,2015 and

continuing on the same day ofeach month thereafter until flre child reaches thc age ofeighteor yeals or

graduatcs {iom higlr sdrool, rvhichever should have occun'ed last. The Plaintiff shall not   petitiol this

Court for a modification of Defendant's obligation for a poiod of 36 rnontls, due to income tax

implications regarding dre Defendanfs income for the tax year 2014 and thc debt allocation set

forth within this order. The parties aglee, and the Court finds, that this child sr4port obligation is a

downward deviation fiorn the presumptive ch'ild support based upon the Arkansas Family Support

Chart amount for Defendant's income reflected on his 2012 and 2013 federal a.nd statc income tax
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filings. Defendaut's presurptive child support obligation according to Plaintitrs exped witress,

Cheryl Shuffield, is $23,042         pa month, based on a monthly    net incorne of $154,005. Defendant's

presumptive child support obligation according to Defendant's expelt $,ihress, Liles Henly, is $ 13,899

per month, based on a montlrly net income of$93,053. The parties agree, and d1e          Cout finds, that it

is   il   the best intaests of the minor child drat the Defendad's child supporl obligation be set    il   ar

amount representing a downward departurc &om the Child Supporl Chart based upon the factors

enumerated        in   Section   V of Adminish'ative Order 10, ilcluding PlaintifPs     assets available to

support the child, Defendant's procurement and maintenance of life insr"uance and tmst flnds for

the nrinor child, and the exhaoldinary tirne the minor child spends with Deferidarrt pursua.nt to this

order. Defendant's payment of an additional $8,000 in child support for the month of January is

based on      Plaintiffs assumptiol oftbe expenses related to the marital home, pursuant to the parlies'

agreement.

            10.        The Defendant shall maintain the minol chilcl on a pernium "Gold standard" health

insurancc and dental policy. The parties      will split any out ofpocket niedical expenses.

            11.    Child supporl shall be rernitted through the Arkansas Child Suppofi Ctearitglrouse

and directed to:


                                           Child Support Clearinghouse
                                           P.O. Box 8128
                                           I-ittle Rock, AR 72203.

            12.    kr addition to the child support paymerrt, ihe Defendant shall pay the sum charged by

the Clild Support Clearinghouse, if any, as an annual fee for administering payment of the child

support.

            13.    Both the Plaintiff and the Defendant sha1l infon:r thc Corut     Cle* of any clrange in

their address and tlre namc and addr-css oftlrcir current employer after this date until their child attains
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the age ofeighteen (18) years or graduates fi'om high school, whichever occurs later'.


            14.   NOTICE: Pursusnt to Act 1779 of 2001, notice is hereby given to the tron-

custodial parent, that failure to pay child support or to visit with the children for at least

one   (l)   year shall provide the custodial parent with the right to initiate proceedings to

terminate the parental rights of the non-custodial parent.

            15.   Pursuant to   Ark. Code Arur. $9-14-107(2)(a) the Defandant is hereby ordered                  to

provide the Plaintiff with ploof of income for the previow calendar year and whenever requested                  il
writing by certified mail, not nrore flran once a year, by the Plaintiff. Tlut in the evort the Plaintiffrcquests

in writing that the Defendant provide proof of incorne, the Delendant shall respond by certified rnaii

within fifteen (15) days. If the Defendant fails to provide proofofincome          as   dilected by the Coud or

fails to respond to a wdtten i'equest for proofof income, the Defendant may be adjudicated to be in

contempt of Court. If   fie Plaintiffis rcquired to petition the Court to obtain said inmrne infonnatiorl the

Plaintiff may be entitled to recover costs and a reasonable attorney's fee. Ali income iufonnation

received by dre Plaintiffshall be treated confidentially and used for child zupport purposes only.

        16.       The pafiies further announced that they have reached a setdemcnt conrpromise of all

propaty rights and     d$t   liabilities existing bctwecn then, which agreernmt dre C-ourt finds to be fair,

reasonable and equitable. Accordingly, the parties agree, and the Cotut finds as follows:

                  A.    The .Plaintiff shal1 take as hcr sole and separ"tc property the following:

                  1.      Propefy settlement   fur   thc amount of $3,750,000.00, iess   fie following amounts:

(1) $ 138,000.00, forreirnbtnsement to the minol child's USAA        txst accout. These fimds shall   be   withheld

by Deferdant and deposited irunediately into the Bank of the Ozarks trust account for the benefit            ofthe

rninor child. (2) $19,598.87, rcpresenting the amount             of Wagoner Law Fim, P.A.'s lien           against

PlaintifPs disbursement of funds. Defendant shallpay         $   19,598.87 dilectly to Wagoner Law Firm, P.A.
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in fuIl satisfactiori of   tl, e   liar thereon. Accordingly, Defen<lant shall deliv er $3,592,401.20, on certified

funds,     to'l'aylor l/aw Parlners, LLP within ten (i0) dals fioln the eltay of this Decree;

                    2.         Onehalf the funds held      i-n   Defendant's attomey's Iolta trust account, Plaintiffs


one-half interest thcrcil totaling $32,071.00, with the same to be delivered to Plaintiff            within ten (10)

d   ays;

                    3.one-lralfthefundspayablejointlytoPlaintiffandDeferrdarrtrepre;entfug

irsurance clafuns paid by Fatlners hrsl'ance              in the amounts of s11,364.84 ('{o.        0230227467) and


$3,817.03 (No. 1607191960), with thc sarne to bc delivered to Plaintiffwiflrin ten l0) days;
                                                                                  (



                    4.         Plaintiffs 2009 ChevY Suburban;

                    5.         On+.fiaifthernarital pcrsonalpropotylocatedinflrefollou,ing residences, in addition

to her personal effects, cloflring and other pranarital, inheritecl, or gifted assets: 10 Thomas Palk Circle,

Little Rock, Artansas; 3639 Wickersharn Lane, Ilouston, Texas; and 15 Cedam, Breckenridgc,

Colorado.

                   6         All     deposits in any filancial institution in her sole name;

                   B.         Thc DefendBnt      sha1l take as his sole and separate   ploperty the following:

                    1.             Tlre fom.rr- maital reiirlerces located at 10 lhomas Pak Circle, Litfle Roc\

Arkansas; and 3639 Wickersham La.nq Ilouston, Texas. [Ie shall also retain his prernarital real propcrty

located at 15 Cedars, Blcckcnridgg Colorado. The Defcndant shall be solcly rcsporsible                        for any

ildebtedness or liability on said rcsidences, iuclusive oftaxes and insurancc owed thaeon. The Plaintiff

shall cxccutc quitclairn <leeds or such other documents as the Defendant tnay reasolrably require

relilquishing all rigl.rt, tifle or interest    she may have in said real pr   opoty subject to the prcvisions herein,

wit6i1ten (10) days olthe presentation of same to her. The Plaintiffis given until F&ruary 1, 2015 to

vacate tho residence          at l0     Thornas Park Circle, Little Rock, Arkausas. Plairttiff shall be solely
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rcsponsibl€ for the utilities and other expenses associated with the rnarital residence as previously

ordered by this Court until she vacales the marital home. Defendant shall not be responsible for any

charges or costs related to the marital horne that Plaintiff incrns during this time.

                            One-half the funds held in Defendant's attome/s Iolta trust accouot, one-half

interest thaein totaling $32,071.00;

                 3.         One-half tl.re funds payable jointly to Plaintiff and Deferdant lepreserting

insurance claims paid       by Farmers Insuance in the amounts of $11,364.84 (No. 0230227467)                    afi
$3,817.03 (No. 16071 9l 960);

                            The autornobiles in   lis   possession, including a    Chely Tahoe, a Pomchg and

other premadtal veft icles;


                 5.         Tlie following non-marital vehicles located at the marital home: two

Harley Davidson motorcycles, a Land Rover, and a fishing boat;

                 6.         A11 items   of personal property currently in his possession including any

deposits in any financial   ixtitution in his own name or held jointly by Plainhffand Defendan! retilement

accounts, pensions, insurance policies and anmrities, aod any other items ofpersonal property;


                 7.         Nl   entities, co4.nratiols, lirnited liabiLity cornpanies, partnerships, limited

partnerships, and trusts         in which   Defendant holds any interest. Plaintiff agrees              to   execute

assignments or such other documents as the Defendant rnay rcasonably require relilquishing all                  righ!

tide or interest she may have in said cntities subject to the provisions herein, widrin ten (10) days ofthe

presentation of sarne to her. In addition,   Plailhff shall relinquish her rights, obligatior:s, duties      and title

as   tuste€ and signatory or the USAA hust account for the benefit of the nrinor child (member #

ending in 5019, account # ending in 9030 and the Edward O. Moody Trust for the minor child dated

7ll0DO12. Defadant shall assume the duty oftnrstee and signatory          or.r   all of the rninol chikl's presently-
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                                                                                                      riglrts
cxisting trusts and accounts. Effective imrnediately upon entry ofthis decree, Plaintiffshall have no

to or aulhority over any tlxsts,     tust    accounts, or other inancial accorurts established by Defendant for


the benefit   of the rninor chi1d. Plaintiff shall also rclinquish her rigls, obligations, duties and title             as


trustec of the E<lward O. Moody Famiiy Trust, the Moody Irrevocable Trust, and/ol any odlBr tusts

establishcd by Defcndant or Defendant's family. Defendalt shall likervise be obligated and rcsponsible

for all debts and liabilities associated with the above and shall hderrurifu ard hold Plaintiffharmless              wth

l'espect thereto;

                    8.     Onehalf the rnalital personal property located in the following residences, in

ad6ition to his personal effects, clothing ald other premmital, inheritod, ol gifted assets: 10 Thomas Par*

circle, Little Rock, Ar.kansas; 3639 Wickosharn Lane, I{ouston, Texas; and 15 Cedars, Brcckolidgc,

Colorado.

          17.       'fhe parties shail each be responsible for any debts ol obligations in their individual

nancs, inclusivc ofcredit card debts, medical expanses and Iegal expenses.                  Aly   charges   tojoint cltxlit

card or other chalge accorurts rnade afier DeccrDber 9, 2014 shail be the sole responsibility of the

pafly incurring the charge.

          18.       T6e parties ag'ee, and the Cornl finds, that the Defendant shall pay no alfunony to the

Plaintiff.

          19.       The partics   fii*rer   agrce, and   ftc Court ftrds,   that the parties shall ag ee on a division   of

thc mmital pasonal property at thc above-mentioned residences as follows. The parties shall divide the

marita'l personal prcpelty by altemating picks fiom a master l'ist until all personal propaly has beelr

chosen.   A coin flip shall determine which party has the first pick. lfthe parties arc unable to divide the

marital personal property, same sball be sold at public sale on the petition fot the satne by either party,

but irr any event not later tharl March 15,2015. Both parties               will   cooperate in allowing each other firll
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and leasonable access to said properties for the purpose of making invantories of the pemonal      property

therein.

           20.     The parties fuitber agree, and the Court    filds, that   t'lre Defendant shall name the


minor child or her trust as a notJess-than one-foruth beneficiary on any existing policies of life

insurance   tlut   he or his trust own on his   life. These policies are a New Yolk Life policy (ending

in 4541) and a Northwestem Mutual policy (endirg in 3961.)

           21.     The Defendant shall be solely lesponsible for any liability resulting frorn his

pe$onal state and/or federal ircome tax retum filings silce the date ofthe filing of this action and

shall likewise receive any refund resulting from either such filing     as his sole and separate   property,

Defendant shall also be solely responsiblc for any liability resultirg from statc and/or federal

income tax retums filed by any entity Defendant is awarded in this Decree iu any year, and             sha11


likewise receive any refund resulting from any such flLing as his sole and sepatate property. Each

party shall be responsible for the personal property taxes on the ploperlz they receive fi'om 2014

forward.

       WHEREFORE, IT IS CONSIDERED, ORDERED, ADJUDGED AND DECREED:

           1.      Tlrat the Plaintiff is hereby granted an absolute divorte fi'om the bonds of n.ratrimony

hereto existing with the Defenda:rt, and the parties' maniage is hereby terminated and dissolved,

cffective upon the entry of this Decree with the Circuit Clerk of Pulaski Counfi Artansas.

       2.          That tlrc above-described Prnperty Dvision and Settlement of and between the parties

is hereby approved by tl, e Court and is incorporated but not rnerged into the Decree.

       3.          That this Cout rctaim judsdictioll over the padies and subject matter of this      actiol

for such further orders as may tirne to time be uecessary to enforce thc provisions of this Decree aud

the parties' agleement, and for other matterc as authorized by law.
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        4.      That both parties are   fit   and proper parents to irave custody of the nrinor child,

E.O.M., bom in 2008. Plaintiff shall be desipated the prirnaly physical custodian subject to the

Defendant's reasonable visitation as hercin set forth.

        5.      That the Defendant shall pay child support to the Plaintiff in the amount of

$20,0000.00 on January 1, 2015, and at the rate of$12,000.00 per rnonth on the first day ofeach

month thereafter until said child leaches the age of eighteen years or graduates fi-om high school,

whichevcr should liave happened last.

        6    That dre Defendant's Counter Claim fol divorce is hereby dismissed.

        ru IS SO ORDERED.


                                                        .   VANN SMITH, Circuit Judge

                                                  DATE:            l- Y' )o ts-


        c. Kidd 16071)
          N,L Griffis (12285)


DoDDS, KDD & RYAN
313 West Second Strcet
Litde Rock, Atkan   sas   7220)


               ilb---
W. H. Taylor (81 154)
JeffMitohell (95149)
Attoraeys Jbr Plaintiff
TAYLOR I.AW PARTNmS, LLP
303 E. Millsap Road
Fayettevill e, Arkansas 72703




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                                     IIOT,IRTEENTE DIVISION

ANGELAN.MOODY                                                                               PI,AINTITF

vs.                                  cAsE NO.60DR-11-1585

EDWARDMOOI}Y                                                                              DEFENI}ANT

                     AMENDEI} AIID SI,'BSTITTIIED VIIIITATIdN ORDER

        On the   l3th ttay of Maroh, 2014, this   C*trtfuid Plottiffs Motlonfor Contcmpt atd to
Anend Yisitdion wd Defenilart's Motion to Ameld Vlsltation Scledule. Plaintiff appeared in

person and was represented by coursel, Defendant appeared in person and was also representcd

by corusel. Based upon all information properly beforr it, this Cout fnds ard or,ilers as folloqis:

        t.       This order supersdes and shall be substituted for the visitation pr,ovisiom ofthe

Temporary Order mtered Novomber 18, 2011 aad the             VisiEion Olcler     ente,ted June     t1, 2013,

excel   as otherwise   pmvided for in this orrler. Plaintiffand Dofendant slrall usc wery reasonable

ad conciliatory effort !o giw    proper effect to this order.

        2.       Neither party .qtratl discuss this case with the miaor chil4 This order shrll aq1 be

rr*d to or provided to the minor ctrild-

        3.       Plaintifrhes tempo{ary custody of the minor clild, subject to Defendant's right of

visiation which will be as follows:

                 a       BegiDning Friday, March 14, 2014, Defendant will have visitaliou wirh the

minor child on alternaring weekends &om Friclay ater school until Suday at 600 p.m. On the

weekends Defendant has visitarion, he      will pick up the minor child fiom sshool on Friday at eilher

11:45 &m, or 3:10 p-or, and retum her to PlaintiFs home on Sun<lay evening.                  If   Defendant

carnot pick rp tie minor ch d Aom school on Friday for any reason, he shall cootact Plaintiff by

8rffi a-m. that moming, and Plaiatiff will pick up the minor child           iDst€ad.   Plsintitr will then



                                                                         5
                                                                         t
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tmsport    the minor c.hild to Defen<lant's residencc or any other mutually-agreed upon locetion

when Defendant is able to begin his visitation

                   b.     Plaintiffwill pick up the minot child        at school on Friday on the weelconds


Defendmt does not have visitation

                   c.     Dofendsrt will have visitation with the minot child every Tucsday night.

Defendant will pick up the minor child ftroan school        m   Trresday at either 1 l:45 a.m. or 3: l0 p.m'


He   will rchrn   her to school on We&esday moming. If Deftndant cannot pick up the minor child

fiom school on Tuesday for any resson, he sball contact Plaintiffby 8:00 am. Ttlesday moming,

aod Plaint'rff    will pick up the minor ohild      instead.   Pkintiff will transport the minor child to

Defendant's residence or any other mutually-agreed upon location ufren Defendant is able to

begin his visit*ion.

                   d'     Defendant shsll notify Plaintiffby      8   :00   p.m' lhs night $6fors his scneduled

visitation r&elher the minor chlld needs to atteod school for a firll-day or a half-day so that

Plaintitrmay notify the school and prepalt the minor ohild for school.

                   e.     Defendant may visit the minor child at school at my time the school allows

such visits, including dwing lhe minor child's after-school auivities.

                   f.     Plaintitr   will take the minor child to             school every morning excgpt

Wednesday moming.         Plaintiffwill pick up the minor child ftom school every day except T\rcsday

and the Fridays Defandant has weekend           visitdion. only    the      prty who   takes the child to school


or picks up the child fiom school      will   be on campus during &op offand pick uP times'

        4.        Holiday visitation will bc as follows:

             Holilay                                Fether                                 Mother
       Martin Luther King                            odd                                    Even
        Valentine's Day                              odd                                    Even
        Presidenl's Day                              Evcn                                    odd
         Sprinc Bt€ak                                odd                                    Even
                 East€r                              Even                                    odd
                                                       2
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     Meiaorial Day                            odd                             Bveu
      Fourth ofJulv                           Bven                            odd
       Labor Ilay                             Even                            odd
 IbaoksciYinc (first ht10                     odd                             Even
Thartsgiving (second halD                     Even                            odd
   ChrisElas (6rft halfl                      Even                            odd
 Chdstmas (s€cond haU                         odd                             Evm
      Fdlrr's Day                          Every Year                         N/A
    Molher's Day                              N/A                          Every Year
   Father's Birthday                       Every Year                         N/A
   Motber's Birthday                          N/A                          Every Year
   Child's Birtrdsv                           odd                            Even



    5.     Specific holidays are defined as follows:

           a.   lvlar.tin   Luthq Kine: IVtartin Luthcr King weekend visitation shall be Aom

                school disnissal on Friday to 6:00 p.m. on Monday.

           b.   President's     DaI: Prcddent's Day     weekerrd visitation sball be from school

                dismissal oo Fri<lay to 6:00 p.m. on Monday.

           c.   Spgllg-Blggk: Spring Brcak vbitation shall be ft,om school disnrissal oa the

                day school receses until 6:00 p.m- dre night before school resumes.

           d. Esst6         Easter weekend visitation sball be fmm 6:00 p.m. on Friday to 6:00

                p.D- on Sunday. Ho*,cver, Defendmt's 2014 East€r visitdion shall             be


                exEndod es previously ordered by this Cotttt

           e.   Meanorial Dav: Memorial Day weekend visitdion shall bo ftom 6:00        p.o. on

                Friday to 6:00 p.m. on Mooday. If thc minor child is still in school the Friday

                before Memorial Day,       thln Memorial Day visitation shall begin at school

                dismissal on Friday.

           f.   Labor Dav: Iabor Day wcckend visitation shall run from school dismissal oo

                Fri&y to 6:00 p,m. on MondaY.
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                     g. thanksqivinc The fitst portion of            Thanksgv'IDC shall        fln   fiom    sohool

                          dismi$al rhe day school recesses before Thauksgiviag uatil 4:00 p.rr" on

                          Thar}€giving Day. The second portion of ftanfsgiving shall run from 4:00

                          p,m- on ltanksgiving Day until 6:00 p.nr. on Sunday befote scbool resumes.

                     h-   CbrisfrraE: The      first portion of Chrisonas Brcak sbll           nu    ftom    school

                          dismissai   tle   day school recesses until Chdstnas Day ar 10:ffi a,m. The

                          secoud portioa of Christmas Break shall run from ChrisEnas Day at 10:00 a-m.


                          until 6:00 p-m. on the Sunday before schml resumes.

                     i.   Fathe/s Dav: School dismissal on Friday until 6:ffi p'rn. on Sunday.

                     j.   Mother's Day: School dismissal on Friday rmtil 6:00 p-m. on Suday.

                     k    Parties' Bhthdsvs: On each par$s birthday, the child nay spend the day with

                          tbat   pafy. If the party's birthday falls or     a *rekend (Fridey, Saartlay, or

                          Sunday), &ea the minor child shall spend thd weekend          witl   that paty.

                     t.   Child's Birth&v: Eaoh party may spend       up to   tlree hours with the c'bild on the

                          child's birthday in the years wheu the chill is with tbe other party.

        6.           Summsr visitation will be as follows;

                     a-      On weets that both parties art in totrn, the standard visitatioa schcdule

shall apply.   Hovwer,       each party shall be ertitled to up to four (4)    fi:ll weeks with the minor child

during the sronrer for vacations, but suoh periods sh.all not exooed fourt€€n (14) consecutive

clays. Each party shall notify the other party of potential summer vacatioas by                 April   1   of each

yea. Vacations that        are planned after   April I shall be subjoct   to the minor cLild's sunmer       activity

schedule, Bsoh party        Sall infomr     the other party of the travel itinerary aad contact infonnstion

af least one   (1   ) week prior to departure.
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                  b.      PlaintifPs 2014 vacatiou weeks shall include but aot necessarily be lioited

to: June 5 through 14 and July 14 &roug! 18.

                  o.      flefendant's 2014 vaccion $€eks sball includc but not neoessarily be

linited to: July 7 thmugh l3 ad August 1 ttrough 7.

                  d.      The partias' right of first refusai, as stated ia paragraph I      1   ,   shall rpmnin   in

efrect throughout the summer.

          7.      If the mfuor child    has a sc.heduled   activity or sunmer camp during DefeDds[t's

visitatior, Dofqrdant will pick up and drop offthe minor child at the scheduled start and cnd time,

if it falls within his vrsitatior time. Ifhe unable to do    so, he   vill notiry Phintif,   who will pick up

or dmp offthe minor child af &e scheduled ectivity. In this ev€nt, Defendaat            will pick up or drop

off the miaor child at Plaint'rfs home        d   E r€Esonably agroed upon       time. Plaintiff will avoid

scbeduling activities that would htedere       witt   Dsfendant's visitatioa

          8.      Holiday and summer visitation $aersedes rcgulsr visitstion.

          9.      Each party   will reasonably ensurt that    the rninor child oompletes homework               for

both school aad Ktmon.

          10.     Both parties nay attend the minor child's eloacurriculgr activities.

          tl.     Each   ptrty will   p,rovide the othcr party   wift    a schedule   bt   rhe minor c'hild's

extacurricular activities reasonably in advance so that the olho party may afiand anVor prcpare

for such activities. Each party will accommodate the minor child's speoial events assosiated with

the   extaclnisirlar activities.

          12,     Each party shall have a rigbt       of fust refusat if the other party is not able to

persomlly cre for the minor child for a period in excess of four (4) hours. If both padies are

ungvailabte, the child   wi[   stay only at the marital home with a mutually agreed upon babysitter.
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          1r.   Each   prtr    is entitled to rersonrble phone coatact with lhe miaor child while the

minor child is with the o&er party, Specifically, each party may call the minor child aoy time

after school until 8:00 p,rn" on school nights and at any time on da)B the minof child is not                       in

shool. Defendant may also qpeak with his daugbEr on Monday md Thursday mornings before

school.

.         14,   The parties agree to abide by the foilowiag pmvisions, whicL were set out in the

Teinporary order of November 18, 201             I   atr(l the   visitation order of Junc 11, 2013,     as   modified

below:

                a.      Neithcr party shall smoke, coosume alcohol or illegal drugs' or abuse

pescripion medication cihile the oinor child is in his/her respective care and custody'

                b.      Deftndant shall not consuure aloohol within the ffielve (12) hours prior to

any visitation with &e minor child.

                c.      Plaiotiff may,     afi   h€r discr€tion' perfom a portable b'reathalyzet test upon

Defendant at eifher drop      offor pick   up of the minor child. If Deftndant either lefixes                b   take B


portable heaftalyzer test or should he have positive test results, Plaintiff ruay immediately

terminste Dofendant's visitation        urtil    a   heari4 may be held before the court. Deftrndant may

also choose to use his orpn breathalfzet machine to take a second                tesl

                d-      The parties 8gr€€ to uss positive ard coastsuaivc forms of discipline so

                                                                                        physical
the child is disciplined consistently in both homes. The parties agree that any form of

punisbme.nt is prohibited. Further, the parties qgree that no oiher                  thid   Ps4y is permified to

physically discipline the child at my time. Both parties aglee to rcrn8in attentive while the child

is in his or her care and will object to any third puties' aptions towards ihe child'

                e.      Neither party sball make disparaging remuks about                   tle other   parent or the


child, nor shall they allow    e   third party to do so while the minor child is present'
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                     f.     Neithfr party shall have ovemight guests of thB opposite sex with whom

  heishe is romantically involved at any time while tlre minor child is in hiVher rcspective care and


  "ustoay.
                    g.      Eech party   slull immedia{ely mtify     rhe olher   if   the minor child becomes

 injured or ill.

                    h-      If the minor child will not atbnd school, the patty who           bas the child shall

 notift the otber party by 8:00    a"m- on all days the minor chitd is missing school.

                    i.      The parties sball give reasonable notice to the othcr parent prior to leaving

 the state or any ovemight tr:ps with the child          frr   any reason, including any md all contact

 information during their travel for purpoces of notilying the other party should an emergency

 arise conconing thc minor child.

         15.        Neither pafty bas a right to make up missed weekend or orbcr visitation unless

 otherwise agreed upon by the parties or visitstion is missed due to request ofthe other patty.

         16.   .    DefeDdmt    is pero.itted to fly with the minor child             ir   his private plane to

 destinatiom within Adransas, Colorado, Texas, Missouri, snd Florida Defendant may also make

' routine sbps     en mrSe to the listed destinations   if   necessary. Defendat is not required to seek

 Plaintiffs consenl prior to flying wilh the child but shall inform Plaintiff of his tavel itinerry

 when the minor child will be Aying with him, includirg all stops.

         77.        Plaintiff rcquested and is granted ioterim attomey's fees of $5O000.00, which

 Defendant shall pay to     Plaintifs    afiomeys by MondaS March 17,2014. Said fees specifically

 constitute sn advanco of marial fimds to Plaimiffand sball be chrged against her portion of the

 marital estate in the final division ofthe parties' property.

         IT IS SOORDERED.
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                                         DATE:       APR       8   2014

                                                           '
    Prepated By:

    /s/ Adrlenae C.     M Grifis

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